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UNITED STATES DISTRICT COURT ,,. 5-3 9. x04
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SOUTHERN DISTRICT OF INDIANA SOUTH STRICT
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JARED ZIKE, )
)
Plaintiff, )
)
Vv. ) CAUSE NO.
)
PENNCRO ASSOCIATES, INC., i ' , -1A
} 9 318 -w- 0353 SEB TAB
Defendant. ) Jury Demanded
COMPLAINT

Plaintiff, Jared Zike, by counsel, hereby brings this action pursuant to the Fair

Debt Collection Practices Act, 15 U.S.C. 1692 et seq. (““FDCPA”), for a finding that
~ Defendant committed violations of the FDCPA, and to recover damages for those
violations, and in support thereof says and alleges:
JURISDICTION AND VENUE

1. The Court has jurisdiction pursuant to 15 USC § 1692k(d) of the FDCPA.

2. Venue is proper in this District because: (a) the acts and transactions
occurred here; (b) Plaintiff resides here; and (c) Defendant transacts business here.

PARTIES

3. Plaintiff, Jared Zike (“Mr. Zike”), is a resident of the State of Indiana and
resides in the Southern District of Indiana.

4, Defendant, Penncro Associates, Inc. (“Penncro”) is a Pennsylvania

corporation, with its principal place of business located in Southampton, Pennsylvania.
 

 

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Penncro does business in the State of Indiana and in the Southern District of Indiana.

Specifically, Penncro engages in third party debt collection activity and attempts to

collect debts from residents of Indiana and the Southern District of Indiana.
FACTUAL ALLEGATIONS

5. Penncro is a collection agency that regularly collects debts from
consumers on behalf of its clients.

6. Penncro is a debt collector as defined by 15 U.S.C. § 1692a(6) of FDCPA.

7. Penncro was retained to perform third party consumer debt collection
work on behalf of its client, HSBC, of which Beneficial Finance is a business division.

8, In its capacity as third party debt collector for HSBC, Penncro attempted
to collect an HSBC/Beneficial Finance home loan debt from Mr. Zike.

9. On June 14, 2010, Mr. Zike filed a voluntary bankruptcy petition under
Chapter 13 of the bankruptcy code.

10. Mr. Zike included the HSBC/Beneficial Finance home loan debt on his list
of creditors. A true and accurate copy of both the Secured Creditor list of the bankruptcy
petition and the on-line bankruptcy information website creditor list are collectively
attached hereto and made a part hereof as Exhibit A.

11. | HSBC/Beneficial Finance received notice of the bankruptcy through its
attorneys, Javitch, Block & Rathbone at the firm’s Indianapolis address. |

12. Javitch, Block & Rathbone were the attorneys of record for Beneficial
Finance in a mortgage foreclosure action filed against Mr. Zike prior to the filing of

bankruptcy.
 

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13. Mr. Zike’s bankruptcy is still ongoing and the Chapter 13 plan has been
confirmed; thus, the bankruptcy stay is still operative.

14. On September 9, 2011, Penncro sent Mr. Zike a demand letter indicating
they were attempting to collect the home loan debt for HSBC. A true and accurate copy
of Penncro’s demand letter is attached hereto as Exhibit B.

COUNT I
Violation of 15 U.S.C. § 1692e(2)(A), § 1692e(5), and § 1692¢(10)
False or Misleading Representations

15. Mr. Zike hereby adopts and re-alleges paragraphs one (1) through fourteen
(14) of his complaint.

16. | Penncro’s demand letter was in blatant disregard and in violation of the
bankruptcy stay.

17. Penncro had no right to attempt to collect the HSBC/Beneficial Finance
home loan debt from Mr. Zike because of the operation of the bankruptcy stay.

18. | Penncro’s attempts to collect the HSBC/Beneficial Finance home loan
debt despite the operation of the bankruptcy stay constitutes a false representation of the
legal status of the debt in violation of 15 U.S.C. § 1692e(2)(A) of the FDCPA.

19. _ By taking collection action on behalf of HSBC/Beneficial Finance against
Mr. Zike despite the operation of the bankruptcy stay, Penncro took legal action that it
could not legally take in violation of 15 U.S.C. § 1692e(5) of the FDCPA.

20. By attempting to collect the HSBC/Beneficial Finance home loan debt

from Mr. Zike despite the operation of the bankruptcy stay, Penncro used false
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representations or deceptive means to collect or attempt to collect a debt in violation of
15 U.S.C. § 1692e(10) of the FDCPA.

21. Penncro’s violations of 15 U.S.C. § 1692e(2)(A), § 1692e(5), and §
1692e(10) of the FDCPA render it liable for actual and statutory damages, costs, and
reasonable attorney fees, all pursuant to 15 U.S.C. § 1692k of FDCPA.

REQUEST FOR RELIEF

Plaintiff, Jared Zike, hereby requests that the Court:

1. Find that Defendant’s debt collection actions violated FDCPA.

2. Enter Judgment in favor of Plaintiff and against Defendant for actual
damages, statutory damages, costs, and reasonable attorney fees pursuant to 15 U.S.C.

§1692k of the FDCPA.
3. Grant such further just and proper relief.
JURY DEMAND

Plaintiff, Jared Zike, hereby demands a trial by jury.

Respectfully submitted,

NERZ LTERMAN, P.C.

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